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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                                NORTHERN DISTRICT OF CALIFORNIA

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                                   6    LOOP AI LABS INC,                                  Case No. 15-cv-00798-HSG
                                                       Plaintiff,                          ORDER DENYING MOTION FOR
                                   7
                                                                                           RELIEF FROM NONDISPOSITIVE
                                                v.                                         ORDER DKT. NO. 665
                                   8

                                   9    ANNA GATTI, et al.,                                Re: Dkt. No. 707
                                                       Defendants.
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                                  11          Having reviewed Plaintiff’s motion for relief from Magistrate Ryu’s Order relating to a

                                  12   dispute that arose during Defendant Anna Gatti’s deposition, Dkt. No. 665, the Court DENIES
Northern District of California
 United States District Court




                                  13   Plaintiff’s motion. Gatti answered the question that was the subject of the parties’ request for

                                  14   intervention, and any attempt by Plaintiff to compel the production of documents after the close of

                                  15   fact discovery is inappropriate.

                                  16          Accordingly, the Court finds that Magistrate Ryu’s order is not clearly erroneous or

                                  17   contrary to law. See 28 U.S.C. § 636(b)(1)(A) (“A judge of the court may reconsider any pretrial

                                  18   matter under this subparagraph (A) where it has been shown that the magistrate judge’s order is

                                  19   clearly erroneous or contrary to law.”). See also Fed. R. Civ. P. 72(a); Civ. L.R. 72–2; United

                                  20   States v. Abonce-Barrera, 257 F.3d 959, 969 (9th Cir. 2001) (holding that with respect to

                                  21   discovery disputes and other nondispositive orders, a magistrate judge’s decision is “entitled to

                                  22   great deference”); Grimes v. City & Cty. of San Francisco, 951 F.2d 236, 241 (9th Cir. 1991)

                                  23   (“The reviewing court may not simply substitute its judgment for that of the deciding court.”).

                                  24          IT IS SO ORDERED.

                                  25   Dated: 7/19/2016

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                                                                                                    HAYWOOD S. GILLIAM, JR.
                                  28                                                                United States District Judge
